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10                               UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                    SAN FRANCISCO DIVISION
13   IN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV- 07-5944-SC
     ANTITRUST LITIGATION
14   ____________________________________            MDL No. 1917
15                                                   [PROPOSED] ORDER GRANTING DIRECT
     This Document Relates to:
                                                     PURCHASER PLAINTIFFS’ MOTION FOR
16                                                   CLASS CERTIFICATION WITH RESPECT
     Crago, d/b/a Dash Computers, Inc., et al. v.    TO THE THOMSON AND MITSUBISHI
17   Mitsubishi Electric Corporation, et al., Case   DEFENDANTS
     No. 14-CV-2058 (SC).
18                                                   Date: December 12, 2014
19                                                   Time: 10:00 a.m.
                                                     Judge: The Honorable Samuel Conti
20                                                   Ctrm: 1, 17th Floor

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            [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION FOR CLASS
           CERTIFICATION RESPECT TO THOMSON-MITSUBISHI DEFS.; Master File No. CV-07-5944-SC
        Case 4:07-cv-05944-JST Document 2969-8 Filed 11/07/14 Page 2 of 2




 1            Upon consideration of the Motion of Direct Purchaser Plaintiffs for Class Certification, and

 2   the materials filed and submitted herewith, and defendants’ opposition thereto, the Court ORDERS

 3   as follows:

 4                   1.      The Motion of Direct Purchaser Plaintiffs for Class Certification with

 5            Respect to the Thomson and Mitsubishi Defendants is hereby GRANTED, and the

 6            following class is hereby certified for damages pursuant to Federal Rule of Civil Procedure

 7            23(a) and 23(b)(3):

 8                   All persons and entities who, between March 1, 1995 and November 25,
                     2007, directly purchased a CRT Product in the United States from any
 9                   Defendant or any subsidiary or affiliate thereof, or any co-conspirator or any
                     subsidiary or affiliate thereof. Excluded from the class are defendants, their
10                   parent companies, subsidiaries or affiliates, any co-conspirators, all
                     governmental entities, and any judges or justices assigned to hear any aspect
11                   of this action.

12                   2.      Saveri & Saveri, Inc. is designated and appointed as Class Counsel for the

13            Direct Purchaser Plaintiffs.

14                   3.      As soon as practicable after the entry of this Order, all parties shall meet and

15            confer to develop a plan for dissemination of notice to the Class.

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17   IT IS SO ORDERED.

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19   Dated:
                                                         Hon. Samuel A. Conti
20                                                       UNITED STATES DISTRICT JUDGE
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               [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION FOR CLASS
              CERTIFICATION RESPECT TO THOMSON-MITSUBISHI DEFS.; Master File No. CV-07-5944-SC
